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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           Case No. 16-62060-Civ-COOKE/TORRES

 KENDRA JONES,

         Plaintiff,

 vs.

 NPAS, INC.,

       Defendant.
 ___________________________________________/
                                     ORDER OF DISMISSAL
         THIS CASE has been DISMISSED with prejudice pursuant to Federal Rule of Civil
 Procedure 41(a)(1)(A)(ii). Joint Stip. Vol. Dismissal with Prejudice, ECF No. 25. Each party
 shall bear his or its own costs and attorney’s fees.
         The Clerk shall CLOSE this case. All pending motions, if any, are DENIED as moot.
         DONE and ORDERED in chambers at Miami, Florida, this 21st day of December
 2016.




 Copies furnished to:
 Edwin G. Torres, U.S. Magistrate Judge
 Counsel of record
